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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                             April 10, 2024
                       UNITED STATES DISTRICT COURT FOR THE                               Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CADENCE BANK,                                      §
                                                   §
       Plaintiff,                                  §
                                                   §
                                                   §
v.                                                 §            Civil Action No.: 4:24-cv-01266
                                                   §
TRITGEN, LLC and INDEPENDENT                       §
TEXAS RECYCLERS, LLC,                              §
                                                   §
       Defendants.                                 §


                          AGREED ORDER APPOINTING RECEIVER

        The matter before the Court is the Motion for Appointment of Receiver (the "Receiver

Motion") submitted by Cadence Bank (the "Cadence Bank"). After consideration of the Receiver

Motion, Cadence Bank's Brief in Support of Motion for Appointment of Receiver, the Declaration

of Alan Weiner, and the Defendants' Consents to Appointment of Receiver; and upon finding that

this Court has jurisdiction over the matters raised in the Verified Complaint and Receiver Motion

and that venue is proper in this Court; and after due consideration of the entire record in this matter,

the Court hereby finds and concludes as follows:

                      FINDINGS OF FACT & CONCLUSIONS OF LAW

        1.     Cadence Bank is a Mississippi banking corporation with its principal place of

business located in Tupelo, Mississippi. For purposes of diversity jurisdiction, Cadence Bank is a

citizen of Mississippi.

        2.      Defendant, TRITgen, LLC ("TRIT') is a limited liability company organized and

existing under the laws of the state of Delaware. No member of TRIT is a citizen of Mississippi

for the purposes of diversity jurisdiction.
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       3,      Defendant, Independent Texas Recyclers, LLC ("/TR," and collectively with

TRIT, "Borrowers"), is a limited liability company organized and existing under the laws of the

State of Delaware. Its principal place of business is located at 6810 Irvington Blvd., Houston,

Texas. No member ofITR is a citizen of Mississippi for the purposes of diversity jurisdiction.

       4.      ITR owns a recycling business, that recycles plastics, cardboard, aluminum cans

and glass, with locations at 6810 Irvington Blvd., Houston, Texas 77022; 4711 Gasmer Drive,

Houston, Texas 77035; and 5200 Jensen Drive, Houston, Texas, 77025 (the "Facilities").

A.     The Loans

       5.      On or about August 19, 2022, Cadence Bank, doing business as Cadence

Equipment Finance (f/k/a Bancorp South Equipment Finance) made a term loan to the Borrowers

in the original principal amount of $7,244,094.45 (the "Equipment Loan").

       6.      The Equipment Loan is evidenced by, among other things, that certain Master Loan

and Security Agreement by and between Borrowers and Cadence Bank dated August 19, 2022 (the

"Original Equipme11t Loan Agreement"), as amended by that certain First Amendment to Master

Loan and Security Agreement dated August 19, 2022 (the "First Amendment to Equipment Loan

Agreement"), as further amended by that certain Second Amendment to Master Loan and Security

Agreement dated August 26, 2022 (the "Second Amendment to Equipment Loan Agreement"),

as fmther amended by that certain Third Amendment to Master Loan and Security Agreement

dated August 28, 2023 (the "Third Amendment to Equipment Loan Agreement"; and collectively

with the Original Equipment Loan Agreement, the First Amendment to Equipment Loan

Agreement, and the Second Amendment to Equipment Loan Agreement, the "Equipment Loan

Agreement").




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         7.       Pursuant to the Equipment Loan Agreement, Borrowers granted Cadence Bank a

security interest in, among other things, ce1iain pieces of equipment as more particularly described

in the Equipment Schedule attached to the Equipment Loan Agreement (collectively, the,

"Equipment Loan Collateraf'). 1

         8.       Cadence Bank perfected its security interest in the Equipment Loan Collateral

through filing a UCC financing statement with the Delaware Department of State as U.C.C. Initial

Filing No. 20226971436 (the "Equipment Loan UCC-1'}

         9.      Cadence Bank also made a revolving line of credit to Borrowers in the maximum

principal amounts of $2,000,000.00 (the "Revolving Loan"; and together with the Equipment

Loan, the "Loans").

         10.     The Revolving Loan is evidenced by, among other things, (i) that certain Note

(Revolving Loans) executed by Borrowers in favor of Cadence Bank dated August 19, 2022 in the

original principal amount of $2,000,000.00 (the "Revolving Note"); and (ii) that certain Credit

Agreement by and between Borrower and Cadence Bank dated August 19, 2022 (the "Original

Revolving Credit Agreement"), as amended by that certain First Amendment to Credit Agreement

dated August 28, 2023 (the "First Amendment to Revolving Credit Agreement"; and collectively

with the Original Revolving Credit Agreement, the "Revolving Credit Agreement").

         11.     The Revolving Loan is secured by, among other things, that certain Amended and

Restated Security Agreement by and between Borrowers and Cadence Bank dated August 28, 2023

(the "Security Agreement").

        12.      Pursuant to the Security Agreement, Borrowers granted Cadence Bank a security

interest in all personal property of the Borrowers, including without limitation, all accounts and


1 A complete description of the Equipment Loan Collateral can be found in the Equipment Loan Agreement attached

as Exhibit A to the Verified Complaint.


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    accounts receivable, general intangibles, inventory, goods, equipment, intellectual property,

    investment property, commercial tort claims and deposit accounts (collectively, the "Revolving

    Loan Collateral" 2 ; and together with the Equipment Loan Collateral, the "Collateraf').

           13.     Cadence Bank perfected its security interest in the Revolving Loan Collateral

    through filing a UCC financing statement with the Delaware Department of State as U .C.C. Initial

    Filing No. 202270400587 (the "Revolving Loan UCC-1"; and together with the Equipment Loan

UCC-1, the "UCC-l's").

           14.    The Equipment Loan Agreement, Revolving Note, Revolving Credit Agreement,

Security Agreement, UCC-1 s, the Forbearance Agreement (as hereinafter defined) and any and all

other documents evidencing, describing, secw-ing, or relating to the Loan are herein referred to as

the "Loan Documents."

           15.    Pursuant to the terms of the Loan Documents, the Collateral secures all of

Borrowers' obligations under the Loan Documents.

B.         Borrowers' Defaults under the Loan Documents

           16.    Borrowers failed to pay and perform their respective obligations under the Loan

Documents, and multiple defaults have occurred and are continuing under the Loan Documents

including, without limitation, the following (collectively, the "Pre-Forbearance Defaults"):

                  a.     Bmrnwers failed to remit required payments of principal and interest due

on April 19, 2023, May 19, 2023, June 19, 2023, and July 19, 2023 under the Equipment Loan

Agreement (the "Monthly Payment Defaults");




2
 A complete description of the Revolving Loan Collateral can be found in the Amended and Restated Security
Agreement attached as Exhibit E to the Verified Complaint.



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               b.      On or about May 16, 2018, ITR executed that certain Guaranty in favor of

 Closed Loop Fund, LP ("CLF') guarantying CLF's loan to Eco Glass Recycling LLC ("EGR"),

which was not disclosed to Cadence Bank until after closing of the Loans, (ii) ITR loaned

approximately $625,000.00 to EGR which was not disclosed to Cadence Bank until after the

closing of the Loans, and (iii) TRIT borrowed approximately $300,000.00 from Robert Yosaitis

prior to the closing of the Revolving Loan, which was not disclosed to Cadence Bank until after

the closing of the Revolving Loan (collectively, the "Affiliate Loan Defaults");

               c.     Borrowers were liable for past due trade payables and other material past

due accounts payable which were materially greater than those disclosed by Borrowers to Cadence

Bank prior to closing of the Loans (collectively, the "Payable Defaults");

               d.     Borrowers failed to furnish the financial information required by Sections

5.0l(a), (b), (c), and (f) of the Revolving Credit Agreement and submitted inaccurate and

incomplete Compliance Certificates (as defined in the Revolving Credit Agreement) (collectively,

the "Reporting Defaults"); and

              e.      Bon-owers' Borrowing Base and Covenant Compliance certificate dated as

of June 30, 2023 reflects that Borrowers failed to maintain the required Fixed Charge Coverage

Ratio and Senior Leverage Ratio (each, as defined in the Revolving Credit Agreement) as required

by Sections 5.13(a) and (b) of the Revolving Credit Agreement (collectively, the "Covenant

Defaults").

       17.    Cadence Bank gave Borrowers written notice of the Pre-Forbearance Defaults on

December 5, 2022, May 25, 2023, and July 14, 2023.

       18.    As a result of the Pre-Forbearance Defaults, Borrowers and Cadence Bank entered

into that certain Forbearance Agreement dated August 18, 2023 (the "Forbearance Agreement"),




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pursuant to which Cadence Bank agreed to forbear from exercising its rights and remedies on

account of the Pre-Forbearance Defaults until November 15, 2023.

        19.    In the Forbearance Agreement, the Borrowers acknowledged that "the [C]ollateral

does not and will not be able to generate sufficient income to repay the Loans in accordance with

the Loan Documents ... [and] in [Borrowers'] current financial condition, they are not able and

will not be able to generate sufficient income to repay the indebtedness owed to Cadence Bank in

accordance with the Loan Documents."

       20.     Borrowers failed to pay and perform their respective obligations under the

Forbearance Agreement, and multiple defaults occurred and remain outstanding under the Loan

Documents, including, without limitation, the following (collectively, the "Forbearance

Defaults"):

               a.     Borrowers failed to timely execute documents requested by Cadence Bank

to effectuate the cross-collateralization and cross-default provisions of the Forbearance Agreement

(the "CCCD Default");

               b.     Borrowers failed to engage an independent accounting firm for the

production of audited financial statements (the "Forbearance Reporting Default');

               c.     Borrowers failed to cause a field examination and report to be completed on

or before October 17, 2023 (the "Field Examination Default"); and

               d.     Borrowers failed to remit (i) required proceeds received from the Swap

Agreement on October 19, 2023, (ii) Borrowers' required monthly payment under the Equipment

Loan on November 15, 2023, (iii) required $25,000 payment for the Catch-Up Debt (as defined in

the Forbearance Agreement), (iv) required $25,000 forbearance fee, (v) required $5,000 renewal




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 fee and (vi) Cadence Bank's then outstanding attorneys' fees on account of the Borrowers' various

 defaults under the Loan Documents (collectively, the "Forbearance Payment Defaults").

        21.    Cadence Bank gave Borrowers written notice of the Forbearance Defaults on

 August 30, 2023, October 30, 2023, and August 30, 2023.

        22.    Oi1 March 13, 2024, Cadence Bank again gave Borrowers written notice of the Pre-

Forbearance Defaults and Forbearance Defaults and notice of its intent to accelerate the Loans and

declare the entire amounts outstanding on the Loans to be immediately due and payable and

demanded that Borrowers cure each of the outstanding defaults.

        23.    Despite demand, Borrowers failed to cure the outstanding Events of Default. On

March 21, 2024, Cadence Bank gave Borrowers written notice of acceleration of the Loans and

declared the entire amounts outstanding on the Loans to be immediately due and payable.

       24.     Borrowers remain in default under the Loan Documents, and all amounts owing

under the Loan Documents are immediately due and payable.

C.     Appointment of Receiver

       24.     Borrowers have consented to the appointment of a receiver.

       25.     Cadence Bank is further entitled to the appointment of a receiver because the

equitable considerations weigh decisively in favor of such appointment.

       26.     Unless a receiver is appointed, Cadence Bank will suffer irreparable harm.

Additionally, no adequate legal remedy exists under the circumstances.

       27.     All stakeholders in Borrowers, including Cadence Bank and Borrowers' customers,

will benefit from the appointment of a receiver experienced in operating, stabilizing and

restructuring distressed recycling businesses under the oversight of this Court, which will help

preserve the value of the Collateral and improve the marketability of the Facilities as a going




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 concern.

          28.    Cadence Bank has proven its entitlement to the appointment of a receiver to ensure

the economic and efficient operation of the Facilities given that: (a) there exists imminent danger

that the Facilities or other Collateral will cease operations or diminish in value; (b) legal remedies

are inadequate to satisfy Cadence Bank's claims; (c) no less drastic equitable remedy exists; and

(d) the benefits of the appointment of a receiver outweigh any potential harm flowing therefrom.

          29.    Alan Weiner (the "Receiver"), Senior Managing Director of Focus Management

Group ("Focus Management"), is qualified to serve as receiver in this matter and has the requisite

experience and qualifications to serve as receiver of the Facilities and other Collateral pursuant to

the terms of this Order.

                                               ORDER

          Based upon the foregoing findings and conclusions, the Receiver Motion is GRANTED.

Accordingly, it is ORDERED that:

          A.    Alan Weiner is appointed as the Receiver over the Receivership Estate (as defined

below).

          B.    Within five days of the date of this Order, the Receiver shall obtain and file with the

Clerk of the Court a surety bond in the amount of $5,000.00 to be provided by a corporate surety,

guaranteeing performance by him of the duties and obligations of his office of receivership, the

bond to be payable to this Court for loss due to the acts of all agents, servants, or employees of the

Receiver and provide this Court with his written acceptance to faithfully perform the Receiver's

duties as set forth in this Order.

                                     The Receivership Estate

        C.      Upon entry of this Order and the Receiver's acceptance of his appointment as




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 receiver of the Receivership Estate and posting of the required bond, the Receiver is directed and

 empowered to take from Borrowers all rights and powers of Borrowers with respect to the Collateral

 and the Facilities, and their administration and operation, including:

          1.    the Collateral;

          ii. • any and all real or personal property used in or related to the maintenance and
                operation of the Facilities, including but not limited to all equipment, fixtures,
                machinery, motor vehicles, automobiles, trucks, other rolling stock, leasehold
                improvements, construction work in progress, supplies, raw materials, inventory,
                goods, work in process, parts, computers, computer software (including all licenses,
                leases, documentation, and source codes with respect to the computer software),
                telecommunication systems, fixtures, furniture, furnishings, office equipment, all
                tangible property furnished by or used in connection with the Facilities, as well as
                all rights, easements, and franchises appurtenant thereto (collectively, the "Physical
                Assets");

          iii. any and all cash, cash equivalents, bank accounts, deposit accounts, credits, prepaid
                expenses, deposits, deferred charges, advance payments, security deposits, prepaid
                items, funds, securities, investment accounts, accounts receivable, notes, notes
                receivable, mortgages, security interests, income, revenues derived from the
                Facilities, insurance claims, insurance proceeds, any and all civil claims, whether
                actual, contingent, or otherwise, and any and all other rights to receive payments
                and/or property used in, generated from, or related to the administration,
                maintenance, and operation of the Facilities as well as all rights, interests, licenses,
                and franchises related thereto (collectively, the "Cash Equivalent Assets");

          iv. any and all records, documents, accounting records, contracts, and operating data
                and/or electronically stored information (including any and all computer operating
                systems in which such information is or may be stored) relating to the operation and
                management of the Facilities and the Collateral that is in the possession, custody,
                or control of Borrowers (collectively, the "Books and Records");

          v.    any and all contracts, licenses and permits affecting, or related to, the Facilities or
                its operation (collectively, the "Contracts and Licenses"); and

          vi. any and all of the internet domain names, post office box numbers, telephone and
               facsimile numbers, and any and all other listings and numbers used by Bmrnwers
               in connection with the operation and management of the Facilities (collectively,
               the "Contact Information Assets"; and together with the Collateral, Physical
               Assets, Cash Equivalent Assets, Books and Records, and Contracts and Licenses,
               the "Receivership Estate").




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         D.       Borrowers and their successors, assigns, agents, officers, directors, members,

 managers, employees, attorneys, accountants, anyone acting for or in concert with Borrowers, and

 any persons or entities, including banks, financial or depository institutions, receiving notice of this

 Order and having possession or control of the Collateral, Books and Records, Cash Equivalent

 Assets, Contracts, Licenses, Contact Information Assets, the Facilities, and/or any and all Physical

 Assets are hereby ordered to immediately deliver over to the. Receiver: (1) full access to all Books

 and Records; (2) full and exclusive control over any and all Cash Equivalent Assets (including any

 infonnation required by a bank or financial or depository institution to enable the Receiver to take

 exclusive control over any and all Cash Equivalent Assets (e.g., access to online banking)),

 Contracts and Licenses, and Contact Information Assets; and (3) full access to and exclusive control

 over any and all Physical Assets; provided however that Borrowers' accountants, attorneys and

 vendors and other service providers shall have a reasonable period of time to deliver any such Books

 and Records to the Receiver following the written request of the Receiver for the same.

                               The Receiver's Authority and Power

        E.      Upon the acceptance by the Receiver of his appointment pursuant to this Order, the

Receiver is granted the full power and autho1ity to control, manage, administer, operate, and protect

the Receivership Estate, and is hereby specifically vested with all statutory and common law

powers, rights, and privileges of a receiver necessary to accomplish the purpose of this receivership.

        F.      The Receiver is to operate and administer the Receivership Estate in an economical

and efficient manner in compliance with the terms and conditions of the Loan Documents and

applicable law.    The Receiver is hereby authorized and directed to recover, collect, operate,

maintain, preserve, and manage the Receivership Estate in the best interests of the Receivership

Estate's creditors, and to take all action deemed reasonable and necessary to ensure compliance




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 with all applicable requirements imposed by local, state, or federal law, and regulations

 promulgated by the State of Texas.

         G.      To that ei1d, by this Order, the Court intends to give, and does hereby give, the

 Receiver the full power and authority to fulfill its obligations as Receiver of the Receivership Estate,

 including, but not limited to, the sole and exclusive right and authority to:

       1.        take complete and exclusive possession, control, and custody of and to exclusively
                 run, operate, administer, manage, and perform all acts necessary to operate the
                 Receivership Estate in the ordinary course of business, in accordance with the
                 provisions of the Loan Documents and applicable state and federal law, including
                 but not limited to entering into, modifying, and administering contracts and
                 agreements related to or affecting the Facilities;
       11.       take possession of all inventory, equipment, and improvements constituting the
                 Facilities, and all books, records, and personal property relating to the Facilities,
                 wherever located;
       111.      take possession ofall bank accounts containing funds associated with the Facilities,
                 wherever located, and to open, transfer, and change all bank and trade accounts
                 relating to the Facilities and the Collateral, so that all such accounts are in the name
                 of the Receiver;
       IV.       conduct an inventory of all personal property included in the Facilities;
       v.        implement operational efficiencies and revenue enhancement programs;
       Vl.      fix, charge, revise, raise, and maintain rates and charges for services furnished by
                the Receivership Estate;
       VIL      collect revenues derived from the Receivership Estate and apply those revenues to
                the expenses of operating and maintaining the Receivership Estate in such order and
                amount as the Receiver, in his business judgment, deems prudent and appropriate,
                with available resources then applied in such order as required under the Loan
                Documents;
       Vlll.    make any reasonable reductions or revisions in the Receivership Estate's operating
                expenses, whether or not in the ordinary course of business;
       ix.      manage, operate, maintain, and otherwise control all of the Collateral as necessary
                to prevent diminution of the Collateral's value including, but not limited to: (a) the
                receipt, collection, possession, and preservation of all accounts, incomes, profits,
                rents, and revenues; (b) subject to available resources in the Receivership Estate,
                from the date of this Order, the payment of taxes, insurance, utility charges, and
                other expenses and costs incurred in managing and preserving the Facilities and the
                Collateral, including any past due amounts necessary to restore services, coverage
                or good standing; (c) filing cost reports or other claims for payment, reimbursement,
                or otherwise; (d) if determined appropriate, the right to inspect or receive documents
                necessary for determining, investigating, reporting tax obligations and filing payroll
                tax returns; and (e) exercising any intangible rights;



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      x.      receive, collect, take possession of, and preserve all accounts, incomes, profits, and
              other revenues generated from and by the Receivership Estate, subject to the
              requirements of the Loan Documents;
      XL      terminate or modify any currently existing written or oral contract (other than the
              Loan Documents), with any and all damages arising therefrom to be paid with
              revenues derived from the Receivership Estate in such amounts and at such times
              as the Receiver deems prudent in his business judgment; provided, however, that
              the Receiver may not amend, modify or terminate that certain Agreement for
              Appointment of a Receiver, dated April 3, 2024, by and among Borrowers, Steven
              Ragiel and Cadence Bank (the "Receiver Agreement");
     Xll.    assume and assign any currently existing written or oral contracts in accordance
              with the tenns of this Order;
     xiii. enter into new contracts on behalf of the Receivership Estate for goods or services
             that the Receiver, in his business judgment, deems necessary or advisable for the
             operation of the Receivership Estate;
     XlV.    file, investigate, institute, prosecute, defend, compromise, adjust, or intervene in
             any action or proceeding, legal, equitable, or otherwise, before this Court or any
             other court, agency, or tribunal, as the Receiver may deem, in his sole business
            judgment, to be necessary and proper for the protection, maintenance, enhancement,
             and/or preservation of the Receivership Estate, or to further the provisions of this
             Order;
     xv.     investigate and determine the nature and extent of any and all prior expenditures
             that may have been improperly classified and take all reasonable and necessary
             action to have such expenses properly classified;
     xvi. investigate and determine whether all revenues have been properly accounted for
             and to take all reasonable and necessary action to recover any and all revenues that
             have been dive1ted away from the Receivership Estate or otherwise improperly
            applied and/or handled;
     XVll.   institute, prosecute, defend, and settle such legal proceedings as the Receiver deems
             necessary relating to the recovery, collection, maintenance, protection, or proper
            care of the Receivership Estate, and to employ counsel therefore;
     xviii. hire, discharge, manage, and control such employees and/or staff at the Facilities,
            except as prohibited by law, as the Receiver determines necessary or advisable;
     XIX.   permit Cadence Bank and its respective agents and independent contractors and/or
            professionals to inspect fully the Facilities, its accounts, and all books and records,
             including records as to the maintenance of any portion of the Facilities, upon
            reasonable notice to the Receiver and subject to the waiver of any legal or work
            product privilege extending to information, books or records as determined by the
            Receiver in his business judgment;
     xx.    take all such actions and expend all such sums as may be necessary and prudent in
            the Receiver's business judgment to obtain, maintain in effect, restore, or transfer
            all Licenses, insurance, zoning approvals and other approvals in an effort to ensure
            that the Receivership Estate may continue to be used for its intended purpose;
     xxi. enter into and/or terminate, modify, and renew contracts for any insurance with the
            same or different insurance providers that the Receiver believes, in his sole business


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              judgment, is necessary or advisable for the continued operation of the Receivership
               Estate in the ordinary course of business as a going concern, and to direct that the
               Receiver be named as an "additional insured" under any insurance policies of the
               Borrowers; provided, however that the Receiver shall take no action or fail to take
               any action which results in or could result in the termination, amendment or
              modification of the health insurance policy(ies) of Borrowers for the three (3) month
              period following the date of this Order or which would otherwise result in a breach
              or violation of the Receiver Agreement;
      XXU.    terminate or modify, as the Receiver deems prudent in the exercise of his busi11ess
              judgment, any business activities of, or services provided at or in connection with,
              the Receivership Estate;
     xxiii. engage professionals in the ordinary course of the Facilities' business, including,
              but not limited to, attorneys, accountants, communication consultants, investment
              bankers, consultants, brokers, forensic and investigative accountants, engineers,
              managers and any other service providers (each a "Professiollal" or "Service
              Provider" as applicable) as the Receiver may, subject to the approval of Cadence
              Bank, deem necessary or advisable to· assist the Receiver in the performance of his
              duties under this Order and agree to such terms (including financial terms) with
              respect to such engagements as the Receiver may deem necessary or advisable,
             without further order of this Court and with the reasonable fees and expenses of
              such Professionals and Service Providers to be payable on a current basis from the
              Receivership Estate as operating expenses, subject to the provisions of Sections DD
              and EE below;
     xxiv. comply with all requirements of all governmental authorities;
     XXV.     change any and all locks on the Receivership Estate;
     XXVI. generally, do, execute, and perform any other act, deed, matter, or thing whatsoever
             that the Receiver reasonably believes ought to be done, executed, and performed in
             and about, or with respect to, the Receivership Estate;
     XXVll. take all actions necessary and appropriate to preserve, maintain, renew, and protect
             all contracts and licenses affecting, or related to, the Facilities or its operation to the
             extent the Receiver in his sole discretion determines that the said contracts and
             licenses should be preserved, maintained, renewed, and protected, including making
             all necessary filings with the regulatory bodies and agencies with jurisdiction over
             the Facilities;
     xxviii. execute such documents as are necessary to transfer all contracts and licenses
             affecting, or related to, the Collateral, the Facilities or their operations to any
             purchaser of the Collateral or the Facilities, including a purchaser at a non-judicial
             foreclosure sale which may be conducted by Cadence Bank;
     XXlX. pay itself and any Professionals and/or Service Providers such fees (and reimburse
             such expenses) as are payable in accordance with the terms of this Order, absent
             contrary order of this Court;
     xxx. request and receive advances from Cadence Bank on terms mutually agreeable to
             Cadence Bank and the Receiver for expenses incurred by the Receiver relating to
             the care, preservation and maintenance of the Receivership Estate. All advances
             made by Cadence Bank to the Receiver shall be deemed advances under and



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                pursuant to the Loan Documents to protect and preserve Cadence Bank's interest in
                the Collateral, shall be secured by all of the Collateral, and shall have the same
                priority as the advance originally made pursuant to the terms of the Loan
                Documents. Alternatively, the Receiver may obtain advances from a third party
                lender for expenses incurred by the Receiver relating to the care, preservation and
                maintenance of the Receivership Estate; provided, however, that any third party
                advance (and all rights of the third party lender) shall be subordinate in all respects
                to Cadence Bank's right to payment under the Loan Documents and Cadence
                Bank's interest in the Collateral, unless Cadence Bank agrees in writing to
                alternative treatment;
        XXXI. cause either or both Bon-owers to file a petition for relief under the U.S. Bankruptcy
                Code if warranted in the Receiver's sole discretion; and
        xxxii. generally do, execute, and perform any other act, deed, matter, or thing whatsoever
               that the Receiver reasonably believes ought to be done, executed, and performed in
               and about, or with respect to, the Receivership Estate; provided, however, that
               notwithstanding the Receiver's power and authority to undertake any of the
               foregoing, the Receiver shall have no obligation to do so if the Receiver believes,
               in his sole business judgment, such action would not be in the best interest of the
               Receivership Estate or if the Receiver lacks the resources in the Receivership Estate
               to fund such action after payment of other expenses of the Receivership deemed by
               the Receiver to be more critical.

        H.      The Receiver shall have the power, in accordance with applicable law, to avoid

 fraudulent transfers or conveyances of any of the Collateral or the Facilities' assets or fraudulent

 obligations incurred by Borrowers prior to the appointment of the Receiver.

        I.      The Receiver shall be bound by all applicable laws.

        J.      Subject to Court approval and the written consent of Cadence Bank, the Receiver

 shall have the power to market all or any part of the Receivership Estate for sale.

        K.      Notwithstanding anything in this Order to the contrary, the Receiver shall prepare a

 thirteen (13) week operating budget after reviewing the Borrowers' operations, which budget shall

 include projected revenues, ordinary expenses in the due course and ongoing reasonable and

 necessary professional fees and expenses (including fees of the Receiver and any Receiver

Affiliates) and shall be subject to approval by Cadence Bank. The Receiver shall update said budget

on a monthly basis and shall not materially exceed the budget without the prior written approval of




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  Cadence Bank. In the event Cadence Bank declines to approve any budget, expense or indebtedness

  that the Receiver believes is in the best interests of the Receivership Estate, the Receiver may

 petition the Comt for approval to pay or incur same.

              The Receiver Shall Have Exclusive Control Over the Receivership Estate
                                      Without Interference

         L.      The Receiver shall have full and sole control over all of the Receivership Estate,

 including all authorizations or other documentation necessary or desirable for the Receiver to

 administer, maintain, and operate the Receivership Estate in accordance with applicable law.

         M.      Borrowers are hereby enjoined from administering, operating, directing, controlling

 or managing the business and affairs of the Receivership Estate, which authority has been vested

 solely and exclusively in the Receiver under this Order.

         N.      Unless otherwise approved or directed by the Receiver, Borrowers, and all persons,

 firms, corporations and associations in any way related to, linked to, or associated with Borrowers,

 along with their officers, directors, stockholders, members, managers, subscribers, agents and all

 other persons in active concert or participation with them, are prohibited and enjoined from: (i) the

 transaction of further business with the Receivership Estate; (ii) the waste, transfer, or disposition

 of property of the Receivership Estate; (iii) doing any action or thing whatsoever to interfere with

 the taking control, possession and administration by the Receiver of the Receivership Estate; (iv)

 interfering in any way with the exclusive jurisdiction of this Court over the Receivership Estate; (v)

 the institution or further prosecution •of any action or proceedings against the Receiver, the

 .Receivership Estate or its assets, except before the Court; (vi) the filing of any petition for relief

 against or on behalf of Borrowers pursuant to Title 11 of the United States Code; (vii) withholding

 from the Receiver books, accounts, documents, records or any other pait of the Receivership Estate

 relating to the business of the Receivership Estate; and (viii) any other threatened or contemplated


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 action that might lessen the value of the Receivership Estate, impede the Receiver's discharge of

 his duties, prejudice the rights of Cadence Bank or other creditors, or interfere with any proceeding

 initiated by the Receiver.

         0.      Borrowers, along with their agents, employees, officials, officers and successors and

 assigns, shall fully cooperate with the Receiver in all matters related to this Order and the operation

 and administration of the Receivership Estate, including but not limited to executing all documents,

 providing all authorizations, and taking any other action that the Receiver believes is necessary or

 desirable to facilitate the operation of the Receivership Estate or to exercise its powers as Receiver;

 provided, however, that Borrowers shall not be obligated hereunder to terminate, amend or modify

 the Receiver Agreement.

        P.      The Receiver's full and sole control of the Receivership Estate shall not in any way

 diminish the duties and cooperation required by Borrowers, along with their agents, employees,

 officials, officers and successors and assigns, under this Order.

        Q.      Upon notice of this Order, any person or entity, bank, financial or depository

institution, or any employee or agent of such person or entity, shall be deemed to. be required to

comply with all terms of this Order until this Court shall have relieved such person from the tenns

of this Order by subsequent order.




All members and affiliates of BmTowers are W,;;@misil stayed from pursuing collection of any loans

or accounts owed to them by Borrowers.




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                                The Receiver's Rights and Obligations

          S.        The Receiver and any other Professional or Service Provider engaged by the

 Receiver (collectively, the "Receiver Affiliates") shall owe duties only to the Receivership Estate

 and the Court, but not to Cadence Bank, Borrowers, or any other third party. The Receiver's

 retention of the law finn of Bryan Cave Leighton Paisner to assist and represent the Receiver is

 hereby approved. The Receiver is, without fu1ther approval of the Court, authorized to engage

 Focus Management Group, an affiliate of the Receiver, to assist the Receiver in the performance of

 his duties under this Order should he detennine that it is in the best interests of the Receivership

 Estate to do so.

          T.    The Receiver shall make an accounting and keep accurate records concerning the

 Receivership Estate, including the actual revenues collected, any protective advances made by

 Cadence Bank to the Receivership Estate, and expenses paid each month, and make such records

 available to Cadence Bank, Borrowers and the Court during normal business hours and upon

 reasonable notice.

          U.    The Receiver shall permit Cadence Bank and its respective agents and independent

 contractors, to inspect the Receivership Estate and the Receiver's records with respect to the

 Receivership Estate during n01mal business hours and upon reasonable notice and subject to any

 attorney-client or work product privilege with respect to such records, which may be waived in the

 Receiver's sole business judgement.

          V.    The Receiver shall have the absolute right, but not the duty, to change any accounts

 or other investment funds in which the Cash Equivalent Assets are currently maintained to any other

 account or fund if such change is in compliance with the terms of the Loan Documents and this

 Order.




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         W.      The Receiver and Receiver Affiliates shall not have personal liability for any

 liabilities of the Receivership Estate or obligations incurred pursuant to the terms of this Order or

 any other order of this Court and, in the event any such liability or obligation is at any time asserted

 against the Receiver Affiliates, the Receiver may use revenues derived from the Receivership Estate

 to contest any such claimed liability and to pay, compromise, settle or discharge such claimed

 liability on terms reasonably satisfactory to the Receiver, and such expenses shall constitute

 operating expenses of the Receivership Estate.

         X.      The Receiver and Receiver Affiliates shall perfo1m the duties and obligations

 imposed on them by this Order with reasonable diligence and care under the circumstances and

 neither the Receiver nor any of the Receiver Affiliates shall be personally liable to Cadence Bank,

 Borrowers, or any third party except for such of their own acts as shall constitute fraudulent or

 willful misconduct as determined by a Final Order. For purposes of this Order, "Final Order" shall

 mean an order or judgment of this Court as to which: (a) the time to appeal, petition for certiorari,

• or file a motion for re-argument or rehearing has expired and as to which no appeal, petition for

 certiorari, or motion for re- argument or rehearing shall then be pending; or (b) in the event that an

 appeal, writ for certiorari, re-argument or rehearing has been sought, the time to take any further

 appeal, petition for certiorari, or request for re-argument or rehearing shall have expired; provided,

 however, that no order shall fail to be a Final Order solely because of the possibility that a motion

 pursuant to Rule 60 of the Federal Rules of Civil Procedure may be filed with respect to such order,

 as long as such a motion has not actually been filed.

        Y.      The Receiver and Receiver Affiliates shall be defended, held harmless, and

 indemnified from time to time by the Receivership Estate against any and all losses, claims, costs,

 expenses and liabilities (including reasonable legal fees, costs and expenses), and any costs of




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  defending any action, suit, proceeding or investigation to which the Receiver or Receiver

  Affiliates may be subject, by reason of their execution in good faith of their duties under this Order

 or any other order of this Coui1; provided, however, such indemnity shall be payable solely from

 the Receivership Estate.

         Z.        Any actions or proceedings which involve the Receiver, any Receiver Affiliate, or

 the Receivership Estate or relating in any way to the Receivership Estate or the administration,

 operation or control of the Receivership Estate by the Receiver shall be filed in this Court, and no

 judgment of any party other than the Cadence Bank shall be enforced against the Receivership

 Estate absent further order of this Court.

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         BB.       The Receivership Estate shall be subject to and liable for only such local, state, and

 federal payroll taxes that accrue during the pendency of the Receivership and for which the

 Receivership Estate would have become liable when operated by Borrowers. The Receiver shall

 ensure that payroll tax returns are filed during the pendency of the Receivership.

         CC.       Notwithstanding anything in this Order to the contrary, nothing contained in this

 Order shall be deemed to be either an assumption of liability by the Receiver or Cadence Bank, or

. a requirement that the Receiver or Cadence Bank fund the costs of this receivership or the operating

 expenses of the Facilities, which costs and expenses shall be paid exclusively from the revenues

 derived from the Facilities and the Collateral and the assets comprising the Facilities and the

 Collateral, which revenues and assets, including accounts and deposit accounts of Bo1TOwers or

 proceeds from the sale of the Collateral, are vested in the Receiver pursuant to this Order.




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                                     Payment of Fees and Costs

        • DD.    The Receiver shall file applications for payment of the Receiver's and Receiver

 Affiliates fees and expenses on the twentieth (20 th) day of each calendar month. Unless a party files

 a written objection to the application for payment within fourteen (14) calendar days of the filing

 of the application for payment, the application shall be deemed approved and the Receiver is

 authorized to pay the fees and expenses of the Receiver and the Receiver Affiliates as necessary

 expenses of operntion of the Facilities without further order of the Court.

         EE.    The Receiver's compensation for its services under this Order, not including any

 fees or expenses of any Receiver Affiliates (which shall be paid as operating expenses of the

 Receivership Estate as provided herein), shall be $425/hour as Senior Managing Director of Pocus

 Management, plus the Receiver's reasonable and necessary out-of-pocket expenses directly related

 to the performance of the Receiver's duties under this Order, including, but not limited to, local

 housing, meals, travel, local transportation, and transpottation to and from: (a) the primary

 residence of Receiver personnel providing services under this Order; (b) the Receiver's primary

 office; and (c) the Facilities. The Receiver shall be pem1itted to utilize members of Focus

 Management when necessary, appropriate and reasonable in the interests of economy at the

 following rates: Business Analyst ($325/hr.) and Admin Support ($75/hr.).

        FF.     Fees and expenses payable to the Receiver and Receiver Affiliates under this Order

 shall be treated as priority administrative claims against the Receivership Estate, and payment of

 such amounts in accordance with this Order shall take priority over payment of any claims arising

 prior to the date on which the Receiver is appointed.

                                      Administrative Matters




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          GG.    The Receiver may only be removed by order of this Comt upon appropriate motion,

 notice, and hearing, after a showing of good cause by Cadence Bank or Borrowers.

          HH.    Within 14 days of the Receiver's acceptance of appointment, Borrowers shall

 provide the Receiver with a sworn statement listing: (a) the identity, location and estimated value

 of all property, books, records, contracts and other assets of Borrowers or related to and/or

 appurtenant to the Facilities; (b) the names, identities, and contact information (telephone, mailing

 address, and email address) of all employees, contractors, subcontractors, accountants, attorneys,

 other personnel, and any other agents providing goods or services to or in connection with

 Borrowers or the Facilities; (c) a complete inventory of Bo1TOwers' assets and liabilities, including

 any ongoing litigation related to the Facilities, Bon-owers or their operations; and (d) copies of all

 Contracts and Licenses, agreements, leases, and service agreements related to Bon-owers or the

 Facilities.

         II.     Within three (3) months after entry of this Order, and at such regular intervals of

 three (3) months thereafter until discharged, the Receiver shall file with this Court operating rep01ts

 concerning the financial results of the operation of the Receivership Estate.

         JJ.    The Receiver may seek direction from this Court on any matter related to this Order,

 including, but not limited to, relief from or modification of the provisions of this Order.

         KK.    The Receiver may seek such other and further orders of this Court as it deems

 necessary or expedient to carry out his duties and responsibilities under this Order.

         LL.    The Receiver may resign and be discharged of his responsibilities at any time by

 giving thirty (30) days' prior written notice to this Court, Cadence Bank and Borrowers; provided,

 however, that the Receiver may petition this Comt to approve such resignation and discharge upon

 shorter notice for good cause shown.




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        MM.      At the completion of the Receiver's duties set fo1th in this Order, or at such earlier

 time as the Receiver has determined that the purposes of this Order may no longer be effectively

 fulfilled by the Receiver, the Receiver may file a motion seeking to terminate his responsibilities as

 Receiver and the Comt supervision of the Receivership Estate.

        NN.      Upon the satisfaction and discharge of all indebtedness and obligations secured

 under the Loan Documents, the Court shall enter an Order, as appropriate, terminating the

 receivership.

        00.      As needed until the Receiver is fully ready to begin exercising his authorities and

powers as set forth above, BoU'owers shall avoid harm to the Receivership Estate and ensure the

Receiver can carry out his responsibilities as required by this Order.

        PP.      Borrowers, their successors, assigns, agents, employees, members, managers,

attorneys, or anyone acting for or in concert with them shall be prohibited from: (i) possessing or

managing the Facilities (unless requested or approved by the Receiver) and from interfering in any

way with the possession or management of the Facilities by the Receiver; (ii) collecting,

withdrawing, transferring, conveying, concealing, or otherwise disposing of the Collateral,

including any revenues and profits derived therefrom, during and pending the appointment of the

Receiver; or (iii) removing any property from the Facilities and from removing, destroying,

concealing, changing, or altering in any manner any of the books or records relating to the

ownership, possession, or operating of Borrowers, the Facilities and the Collateral; provided,

however, that Borrowers' legal counsel may apply all existing retainers to the payment of

Borrowers' actual and reasonable legal expenses and shall remit any remaining balance to the

Receiver.

        QQ.      Further, Borrowers are required to pay to the Receiver any revenues and other cash




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 collateral in their possession or control derived from the Facilities and other Collateral, and are

 required to immediately pay and tum over to the Receiver and to perform all other acts necessary

 to transfer to the Receiver all funds on hand in cash and all funds held in deposit accounts for the

 benefit of the Facilities or arising from the ownership, possession, or operating of the Facilities and

 all accounts, accounts receivable, and any other collectibles, and all keys, books, records,

 equipment, and all things in any manner related to the ownership, possession, or operation of the

 Facilities.

         RR.      Fmther, Borrowers, and any other party with notice of this Court's order, are

 prohibited from prosecuting any claim against the Receiver or the Collateral, other than in this

 action and only after a proper motion is filed and an order entered allowing such patty to file such

a claim herein.

                                   Effect of Order and Jurisdiction

         SS.      Except as expressly set forth in this Order, the terms and conditions of the Loan

Documents and any documents related to the Loan Documents, including the rights, property,

powers, authority and assets conferred in such documents, remain in full force and effect.

         TT.      Except as expressly set forth in this Order, nothing in this Order shall act to divest

in any way Cadence Bank of any collateral, property or asset under the control of Cadence Bank or

enjoin or otherwise prohibit Cadence Bank or from pursuing any other remedies as provided in the

Loan Documents or under applicable law. All of Cadence Bank's claims ru.1d causes of action

against Borrowers shall be preserved and shall not be deemed waived, compromised, released or

prejudiced in any way by this receivership proceeding. This receivership proceeding shall not bar

or preclude Cadence Bank, under the doctrines of collateral estoppel, res judicata, or any other

doctrine or preclusion, from asserting or maintaining any claims or causes of action against




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 Borrowers, including, but not limited to, any claims or causes of action for recovery of amounts

 owed under the Loan Documents or proceedings by foreclosure, either non-judicial or judicial, or

 otherwise to sell the Collateral or any portion of the Collateral. Nothing fa this Order shall be

 deemed or construed as placing Borrowers under the control or management of Lender.

         UU.    Nothing in this Order shall relieve Borrowers or the Facilities of any obligation or

 liability under any existing judgment, order or decree.

        VV.     Until the Receiver is discharged and this receivership is terminated, the Court retains

jurisdiction over this matter to: (i) amend, supplement or delete any provision of this Order; (ii)

 enforce compliance with or to punish violations of this Order; and (iii) order any additional actions

or remedies as may be appropriate or reasonably necessary.

        WW. The reversal or modification on appeal of this Order shall not affect.he m,!idity of

a~r actions taken io gaod faith by +be Receiver, tbe payment ofcompensation to which the Receiver

or Receiver Affiliates are entitled, or the payment of expenses incun-ed by the Receiver or Receiver

Affiliates pursuant to this Order.

        XX.     This Order shall. be immediately effective upon its entry and shall continue until

further order of this Court.

         DONE and ORDERED the ~day of A~ r~ l                     , 2024.




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